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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

JAMES SIMMONS,                                     §
                                                   §
       Plaintiff,                                  §
                                                   §
VS.                                                §          No. 4:19cv3301
                                                   §
UBS FINANCIAL SERVICES, INC.                       §          Jury Trial Demanded
and PRELLE FINANCIAL GROUP,                        §
INC.,                                              §
                                                   §
       Defendants.                                 §

                                  NOTICE OF SETTLEMENT

       The remaining parties mediated this case with Richard Brann on March 29, 2021. The case

settled. The parties anticipate that the settlement will be completed within thirty days.


                                               /s/ David C. Holmes
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                                               ATTORNEY FOR PLAINTIFF

                                 CERTIFICATE OF SERVICE

        I certify that a true and correct copy of this pleading was sent electronically to all counsel
of record on March 30, 2021.

                                               /s/ David C. Holmes
                                                       David C. Holmes
